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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      9/18/2023
SHELLYNE RODRIGUEZ et al.,

                                            Plaintiffs,                     21-CV-10815 (PKC)
                          -against-                                              ORDER
CITY OF NEW YORK et al,

                                             Defendants.
-----------------------------------------------------------------X

VALERIE FIGUEREDO, United States Magistrate Judge:

          For the reasons stated at the conference held on September 18, 2023, Defendants’ counsel

are to identify the remaining Doe defendants by no later than Monday, October 9, 2023.

          The parties are directed to file a joint letter by Wednesday, October 31, 2023, providing

the Court an update on the status of the case. The letter should detail the progress of discovery in

the prior month, the anticipated next steps in the upcoming month, and any disputes that have

arisen.

          Plaintiff is directed to file its Amended Complaint by no later than Friday, November 3,

2023.

          The deadline for fact discovery in this action is extended to no later than Thursday,

February 15, 2024.

                 SO ORDERED.

DATED:           New York, New York
                 September 18, 2023

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                                                             VALERIE FIGUEREDO
                                                             United States Magistrate Judge
